      Case 2:08-cv-09444-MSD Document 10 Filed 01/21/09 Page 1 of 2 PageID# 54
                                      IN THE UNITED STATES DISTRICT COURT
                                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                               NORFOLK DIVISION


TOMMY L. DAVIS, Plaintiff
v.                                                                                         CIVIL ACTION NO. 2:08cv9444
AMERICAN STANDARD, INC., d/b/a
WESTINGHOUSE AIR BRAKE CO., et al., Defendants
                                     IN THE UNITED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: ASBESTOS PRODUCTS
LIABILITY LITIGATION (VI)
This Document Relates To

TOMMY L. DAVIS v. American Standard, Inc., et al.,                                           CIVIL ACTION NO. MDL875




                                           ANSWER OF THE BUDD COMPANY

The Budd Company, (Budd) by counsel, for its Answer to the Plaintiff’s Complaint, states as follows:
1. Budd has no knowledge of the matters alleged in paragraph 1 of the Complaint and therefore denies same.
2. Budd has no knowledge of the matters alleged in paragraph 2 of the Complaint and denies same.
3. Budd admits it is named as a Defendant in the caption.
4. Budd has no knowledge of the matters alleged in paragraph 4 of the Complaint and therefore denies same.
5. Budd has no knowledge of the matters alleged in paragraph 5 of the Complaint and therefore denies same.
6. Budd has no knowledge of the matters alleged in paragraph 6 of the Complaint and therefore denies same.
7. Budd has not been served with a copy of the Master Long Form Complaint Counts I, II, III, IV, and X, and thus it has no
    knowledge of the matters alleged in those Complaints, and it denies those allegations insofar as they pertain to this
    Defendant.
                                                           COUNT I
8.   Budd adopts its responses to paragraphs 1 through 7 of the Complaint as though fully set forth herein.
9.   Budd denies the allegations contained in paragraph 9 of the Complaint.
10. Budd denies all allegations contained in paragraph 10, and all subparts, of the Complaint.
                                                          COUNT II
11. Budd adopts its responses to paragraphs 1 through 10 of the Complaint as though fully set forth herein.
12. Budd denies all allegations contained in paragraph 12, and all subparts, of the Complaint.
13. Budd denies all allegations contained in paragraph 13 of the Complaint.
                                                          COUNT III
14. Budd adopts its responses to paragraphs 1 through 13 of the Complaint as though fully set forth herein.
15. Budd denies the allegations contained in paragraph 15 of the Complaint.
16. Budd denies the allegations contained in paragraph 16, and all subparts, of the Complaint.
17. Budd denies the allegations contained in paragraph 17 of the Complaint.
                                                          COUNT IV
18. Budd adopts its responses to paragraphs 1 through 17 of the Complaint as though fully set forth herein.
19. Budd denies the allegations contained in paragraph 19 of the Complaint.
20. Budd denies the allegations contained in paragraph 20 of the Complaint.
21. Budd denies the allegations contained in paragraph 21, and all subparts, of the Complaint.
22. Budd denies the allegations contained in paragraph 22 of the Complaint.
23. Paragraph 23 of the Complaint fails to state a cause of action against this Defendant, and insofar as it may state a cause of
     action, it is denied.
24. Budd has no knowledge of the matters alleged in paragraph 24 of the Complaint and calls for strict proof thereof.
25. Budd demands a trial by jury.


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                                                 AFFIRMATIVE DEFENSES

A.   This action is barred by the applicable statute of limitations and the doctrine of laches.
B.   The Complaint shows on its face there was no privity of contract between the Plaintiff and this Defendant, and such privity
     of contract was a requirement for the maintenance of an action in warranty or negligence at the time the alleged cause of
     action arose.
C.   Any injuries or damages sustained by the Plaintiff were proximately caused by the negligence, assumption of the risk, or
     misuse of the product by the Plaintiff.
D.   Any injuries or damages sustained by the Plaintiff were caused by the negligence or breach of warranty of persons other
     than this Defendant.
E.   This action is barred by the applicable state and federal workers’ compensation laws, including FELA.
F.   This action is barred by the provisions of § 8.01-250 of the Code of Virginia of 1950, as amended.
G.   The Complaint fails to state a claim upon which relief can be granted against this Defendant.
H.   The Complaint fails to allege sufficient facts and acts on the part of this Defendant to state a cause of action for fraud,
     conspiracy, or fraudulent concealment, as required by Rule 8 and 9(b) F.R.C.P.
I.   The allegations in Counts III and IV alleging conspiracy, fraudulent concealment, and fraudulent misrepresentation fail to
     state a cause of action pursuant to Rule 12(b)(6) F.R.C.P.
J.   The Complaint fails to allege any facts supporting a claim for punitive damages against this Defendant.
K.   This Defendant adopts any Affirmative Defenses asserted by its Codefendants and reserves the right to assert such
     additional Affirmative Defenses as may become apparent through discovery or at trial.
L.   The Plaintiff’s cause of action against this Defendant is pre-empted by the congressional mandated plan for compensating
     railroad workers for injuries sustained in the course of their employment as set forth in the provisions of the Federal Safety
     Appliance Act, 49 U.S.C. §20301, et seq., the Federal Employees Liability Act, 45 U.S.C. §51, et seq., and the Boiler
     Inspection Act, 49 U.S.C. §20701, et seq.
M.   The Plaintiff’s cause of action is barred by the doctrine of res judicata and/or collateral estoppel.
N.   Objection to Venue Budd objects to venue of this cause in this Honorable Court. The Plaintiff neither worked in nor is a
     resident of the Commonwealth of Virginia, and the Plaintiff’s cause of action did not arise out of a tort committed by the
     Defendant in Virginia.

        WHEREFORE, The Budd Company prays Plaintiff’s Complaint be dismissed and it be awarded its costs incurred.

     THE BUDD COMPANY

 By:______________________________                        By:     s/ Karen Ellis Carr
    Butzel Long, P.C.                                       Savalle C. Sims, Esq. (VA Bar No. 39274)
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    Attorneys for The Budd Company                          Attorneys for The Budd Company
                                                            Of Counsel
Dated: January 21, 2009

                                                        CERTIFICATE

         This document was electronically filed and is available for downloading and viewing using the ECF system. On January
21, 2009, a copy of this pleading was mailed to Richard S. Glasser, Glasser & Glasser, P.L.C., Crown Center, Suite 600, Norfolk,
Virginia 23510-2212, Plaintiff’s Counsel. Copies of this pleading will be provided to all other counsel upon request.

                                                                                                      s/ Karen Ellis Carr




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